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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 OLEG DERIPASKA,

                      Plaintiff,

            v.                                          Civil Action No. 19-cv-00727 (APM)

 STEVEN T. MNUCHIN, Secretary of the
 UNITED STATES DEPARTMENT OF
 THE TREASURY, ANDREA M. GACKI,
 DIRECTOR OF THE OFFICE OF
 FOREIGN ASSESTS CONTROL,

                      Defendants.


                                     JOINT STATUS REPORT

       Defendants Steven T. Mnuchin, in his official capacity as Secretary of the United States

Department of the Treasury, Andrea M. Gacki, in her official capacity as Director of Treasury’s

Office of Foreign Assets Control (“OFAC”), and Plaintiff Oleg Deripaska submit this Joint Status

Report pursuant to the Court’s December 6, 2019 Order. Dkt. No. 21. The Court’s Order directed

the parties to address whether Defendants have provided an unclassified summary to Plaintiff, the

status of Plaintiff’s request for administrative reconsideration of his designation under Executive

Order 13662, and, if possible, a proposed schedule that includes time for Plaintiff to amend his

complaint, if necessary, and a summary judgment briefing schedule. Id.

       1.        On January 22, 2020, after a lengthy declassification review process, Defendants

provided Plaintiff with an unclassified summary of classified portions of the administrative record

underlying his designations under Executive Orders 13661 and 13662.

       2.        With respect to the status of Plaintiff’s request for administrative reconsideration of

his designation under Executive Order 13662, on November 13, 2019, OFAC sent a questionnaire
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to Plaintiff seeking additional information relating to his potential operations in the energy sector

of the Russian economy. On January 6, 2020, Plaintiff provided a response to the questionnaire,

and on February 14, 2020, Defendants sent Plaintiff a supplemental questionnaire, to which

Plaintiff intends to respond by February 21, 2020. As previously indicated by Defendants, OFAC

will endeavor to provide a response to Plaintiff’s request for administrative reconsideration no

later than March 6, 2020.

       3.      Because OFAC has not yet reached a decision with respect to Plaintiff’s request for

administrative reconsideration, the parties do not believe that they are in position to propose a

schedule for either amendment of Plaintiff’s Complaint or a renewed summary judgment briefing

schedule. However, they agree that they will be able to do so in short order once OFAC reaches a

final decision concerning Plaintiff’s delisting petition. Accordingly, the parties propose that they

file a further joint status report on March 12, 2020. In that status report, the parties expect that they

will be able to propose a joint schedule for further proceedings, including a time for Plaintiff to

amend his complaint, if necessary, and a summary judgment briefing schedule.

       A proposed order to this effect is attached.

Dated: February 19, 2020                               Respectfully submitted,

                                                       JOSEPH H. HUNT
                                                       Assistant Attorney General

                                                       DIANE KELLEHER
                                                       Assistant Director

                                                        /s/ Nicholas Cartier                   .
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